Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 1 of 30 PageID #:114




                             Exhibit C
                                          Case:
                      Return Date: No return     1:20-cv-05119
                                              date scheduled              Document #: 1-3 Filed:Jury
                                                                                   12-Person     08/31/20 Page 2 of 30 PageID #:115
                      Hearing Date: 8/3/2020 9:30 AM - 9:30 AM
                      Courtroom Number: 2502
                      Location: District 1 Court                                                           FILED
                              Cook County, IL                                                              4/3/2020 1:36 PM
                                                                                                           DOROTHY BROWN
                                                               IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                                                           CIRCUIT CLERK
                                                                COUNTY DEPARTMENT, CHANCERY DIVISION
                                                                                                           COOK COUNTY, IL
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                                                                                           2020CH03691

                                               MICHAEL MARZETTE, individually, and                Case No. 2020CH03691 9016515
                                               on behalf of all others similarly situated,
                                                                                                 CLASS ACTION COMPLAINT
                                                             Plaintiff,
                                                                                                 DEMAND FOR JURY TRIAL
                                               v.

                                               SP PLUS CORPORATION, a Delaware
                                               corporation,

                                                             Defendant.


                                                                             CLASS ACTION COMPLAINT

                                                    Plaintiff Michael Marzette (“Marzette” or “Plaintiff”) brings this Class Action Complaint

                                           and Demand for Jury Trial against Defendant SP Plus Corporation (“SP Plus” or “Defendant”)

                                           for violating the Illinois Biometric Information Privacy Act (“BIPA”), 740 ILCS 14/1 et seq.

                                           Plaintiff, for his Complaint, alleges as follows upon personal knowledge as to himself and his

                                           own acts and experiences, and, as to all other matters, upon information and belief, including

                                           investigation conducted by his attorneys.

                                                                                   INTRODUCTION

                                                    1.     SP Plus is a corporation that claims to facilitate the efficient movement of people,

                                           vehicles and personal belongings with the goal of enhancing the consumer experience while

                                           improving bottom line results for its clients.1 SP Plus provides parking facility management




                                           1
                                               https://www.spplus.com

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                                                Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 3 of 30 PageID #:116




                                           services in the United States and Canada. Additionally, the Company provides management

                                           services at multi-level and surface parking facilities in the urban and airport parking markets.2
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                                    2.    SP Plus employs over ten-thousand full-time employees. Plaintiff brings this class

                                           action to put an end to SP Plus’s invasions of privacy – specifically its collection, storage, and

                                           subsequent use of its employees’ fingerprint data without consent as required by BIPA.

                                                    3.    According to BIPA, “biometric information” is any information, regardless of

                                           how it is captured, converted, stored, or shared, based on an individual’s biometric identifier

                                           used to identify an individual. “Biometric identifier” is defined as a retina or iris scan,

                                           fingerprint, voiceprint, or scan of hand or face geometry.

                                                    4.    Biometric identification has become a common place in financial services, work

                                           environments, and everyday life such as unlocking a phone with a fingerprint or facial scan.

                                           With the rise of biometric scanning for personal information and data, Illinois enacted BIPA to

                                           protect consumers from companies using and abusing their personal biometric data.

                                                    5.    Due to the rise of biometric-facilitated transactions in Illinois, the State enacted

                                           BIPA. According to BIPA, “biometrics are unlike other unique identifiers that are used to access

                                           finances or other sensitive information. For example, social security numbers, when

                                           compromised, can be changed. Biometrics, however, are biologically unique to the individual;

                                           therefore, once compromised, the individual has no recourse, is at heightened risk for identify

                                           theft, and is likely to withdraw from biometric-facilitated transactions.” 740 ILCS 14/5(c).

                                                    6.    To protect consumer and employee privacy rights in the face of increased

                                           biometric-facilitated transactions, BIPA created a set of requirements that companies must


                                           2
                                               https://www.bloomberg.com/profile/company/SP:US

                                                                                             2
                                              Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 4 of 30 PageID #:117




                                           adhere to prior to obtaining, storing, or using the biometric data in anyway. These requirements

                                           ban any use of biometric data unless the company first: (1) informs that person in writing that
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                           biometric information will be collected or stored; (2) informs that person in writing of the

                                           specific purpose and length of term for which such biometric information is being collected,

                                           stored and used; and (3) receives a written release from the person for the collection of his or her

                                           biometric information. 740 ILCS 14/15(b).

                                                  7.      Defendant used fingerprint activated timeclocks for employees to clock in and out

                                           of work. Plaintiff and Defendant’s other employees were required to sign in and out using this

                                           fingerprint system. Plaintiff further alleges, that at no time during his employment he had ever

                                           authorized the collection and storage of his fingerprints for company use. Furthermore,

                                           Defendant does not provide its employees with a publicly available retention schedule or

                                           guidelines for permanently destroying their biometric information as expressly required by

                                           BIPA. 740 ILCS 14/15, et seq.

                                                  8.      Plaintiff brings this action individually and on behalf of proposed class in order to

                                           stop Defendant SP Plus’s repeated violations of BIPA and to recover statutory damages for the

                                           unauthorized collection, storage, and use of their biometric information in violation of the BIPA.

                                                                                       PARTIES

                                                  9.      Plaintiff Michael Marzette is a resident of Bellwood, Cook County, Illinois.

                                                  10.     Defendant SP Plus is a Delaware corporation headquartered in Chicago, Cook

                                           County, Illinois. Defendant conducts business throughout this District.

                                                                            JURISDICTION AND VENUE




                                                                                            3
                                               Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 5 of 30 PageID #:118




                                                   11.    The Court has jurisdiction over this action pursuant to 735 ILCS 5/2-209(a)(1)

                                           because Defendant does and is registered to do business in this state and Plaintiff is a resident of
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                           Illinois.

                                                   12.    Venue is proper in this Court because Defendant is headquartered in and does

                                           business throughout Cook County, Illinois.

                                                                             COMMON ALLEGATIONS

                                           Biometric Information and the Illinois BIPA
                                                   13.
                                                          As previously mentioned, a “biometric identifier” is any biological, personal

                                           feature that includes fingerprints, iris scans, DNA, facial features and voice, as well as others.3

                                                   14.    Under BIPA consumers’ and citizens’ privacy in regard to biometric information

                                           deserves enhanced protections in the face of certain technological advances. BIPA recognizes

                                           that “biometrics are unlike other unique identifiers that are used to access finance or other

                                           sensitive information.” 740 ILCS 14/5(c). “For example, social security numbers, when

                                           compromised, can be changed. Biometrics, however, are biologically unique to the individual;

                                           therefore, once compromised, the individual has no recourse, is at heightened risk for identity

                                           theft, and is likely to withdraw from biometric-facilitated transaction.” Id.

                                                   15.    To protect consumer privacy, BIPA that states:

                                                   No private entity may collect, capture, purchase, receive through trade, or otherwise
                                                   obtain a person’s or a customer’s biometric identifier or biometric information, unless it
                                                   first:


                                           3
                                             BIPA defines “biometric information” as “any information, regardless of how it is captured,
                                           converted, stored, or shared, based on an individual’s biometric identifier used to identify an
                                           individual. “Biometric identifier” means a retina or iris scan, fingerprint, voiceprint, or scan of
                                           hand or face geometry. 740 ILCS 14/10. For the purposes of ease, biometric “information” and
                                           “identifier” may be used interchangeably for the remainder

                                                                                             4
                                              Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 6 of 30 PageID #:119




                                                     (1) informs the subject of the subject’s legally authorized representative in writing that
                                                         a biometric identifier or biometric information is being collected or stored;
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                                     (2) informs the subject or the subject’s legally authorized representative in writing of
                                                         the specific purpose and length of term for which biometric identifier or biometric
                                                         information is being collected, stored, and used; and

                                                     (3) receives a written release executed by the subject of the biometric identifier or
                                                         biometric information or the subject’s legal authorized representative.

                                           740 ILCS 14/15(b).

                                                  16.     BIPA also requires companies adopt a retention schedule for biometric

                                           information, stating:

                                                  A private entity in possession of biometric identifiers or biometric information must
                                                  develop a written policy, made available to the public, establishing a retention
                                                  schedule and guidelines for permanently destroying biometric identifiers and
                                                  biometric information when the initial purpose for collecting or obtaining such
                                                  identifiers or information has been satisfied or within 3 years of the individual’s
                                                  last interaction with the private entity, whichever occurs first.

                                           740 ILCS 14/15(a)

                                                  17.     Defendant has engaged and continues to engage in the practice of collecting,

                                           storing, and using its employees’ biometric information without any informed written consent in

                                           violation of all three requirements of Section 15(b). Additionally, in violation of Section 15(a),

                                           SP Plus has failed to provide a publicly available written policy regarding its schedule and

                                           guidelines for retention and permanent destruction of its users’ biometric information.

                                               SP Plus Collects and Stores Current and Former Employees’Biometric Information
                                                                           Without Informed Consent

                                                  18.     SP Plus employs a large workforce that includes over 14,700 full-time employees

                                           and 9,200 part-time employees.




                                                                                            5
                                              Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 7 of 30 PageID #:120




                                                  19.     Defendant tracks its employees hours to ensure that it’s paying employees who

                                           are signing in and out themselves (and not having co-workers clock them in and out). Using
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                           technology that relies on and captures biometric data helps to ensure honesty when clocking-in

                                           and out of the business.

                                                  20.     While this is an effective way to save money for the corporation and shareholders,

                                           when done incorrectly it adversely effects the Plaintiff and alleged Class. Reckless storage of

                                           biometric data can result in the biometric information being stolen and used against the

                                           employees.

                                                  21.     In violation of BIPA, however, Defendant collects, stores, and uses its employees’

                                           biometric information without any express written consent and without providing a public

                                           retention schedule.

                                                  22.     Both of these actions violate BIPA. In violation of the first requirement under

                                           Section 15(b) of BIPA, SP Plus never expressly informed or informs its employees that it would

                                           collect, store, or use their biometric fingerprint information.

                                                  23.     Second, and again in violation of Section 15(b) of BIPA, SP Plus never informed

                                           its employees of the specified purpose or length for which their fingerprints would be collected,

                                           stored, and used. The only knowledge employees were given was the installation of the biometric

                                           fingerprint timeclock that they were instructed to use.

                                                  24.     Finally, in another violation of Section 15(b) of BIPA, SP Plus never received any

                                           written release from its members before it began to collect, store, and use their biometric

                                           information. Employees of SP Plus were merely shown the biometric fingerprinting timeclock

                                           and told to use it to clock-in and out. Employees were never told of the potential ramifications of


                                                                                             6
                                              Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 8 of 30 PageID #:121




                                           the fingerprinting timeclock, including, how the data would be stored, how long it would be

                                           stored, and if they were required to use the timeclock. By all accounts, the use of the biometric
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                           timeclock was mandatory for employees, despite its collection of extremely valuable and

                                           personal information.

                                                  25.     Defendant SP Plus’s intentional, reckless, or negligent failure to provide

                                           employees with: (i) the BIPA-required written notice that their biometric information would be

                                           collected, stored, and used; (ii) information regarding the specific time and purpose for which

                                           such biometric information would be stored; and (iii) to obtain its employee’s express written

                                           release for the collection, storage, and use of their biometric information, all violated BIPA.

                                            SP Plus Fails to Provide a Publicly Available Written Policy Regarding the Retention and
                                                                      Destruction of Biometric Information

                                                  26.     Defendant also violated Section 15(a) of BIPA’s requirement to “develop a

                                           written policy, made available to the public, establishing a retention schedule and guidelines for

                                           permanently destroying biometric identifiers and biometric information.” 740 ILCS 14/15(a).

                                                          FACTS SPECIFIC TO PLAINTIFF MICHAEL MARZETTE

                                                  27.     Plaintiff Michael Marzette resides in Bellwood, Cook County, Illinois.

                                                  28.     Mr. Marzette began employment with Defendant SP Plus Corporation on or

                                           around August 8, 2002. Mr. Marzette was given the employee number 166018 by Defendant and

                                           worked at Midway Airport in Chicago, Illinois. He remained employed with Defendant until

                                           October 29, 2017.

                                                  29.     Mr. Marzette was employed as a hiker or customer service worker during his first

                                           two years with Defendant. For his remaining years, Mr. Marzette worked as a cashier and

                                           customer service employee.

                                                                                            7
                                              Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 9 of 30 PageID #:122




                                                  30.        According to Mr. Marzette, Defendant began using the biometric fingerprint

                                           timeclock system around the end of 2015. At no point during the remainder of Mr. Marzette’s
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                           employment with Defendant did Defendant ever provide any of the statutorily-required

                                           authorizations or disclosures to Plaintiff, nor did Defendant ever obtain consent under BIPA to

                                           collect such information.

                                                  31.        Plaintiff’s only knowledge of the fingerprinting timeclock was the installation and

                                           required use to continue his employment with Defendant.

                                                  32.        Plaintiff never provided any form of informed consent, in writing or otherwise, to

                                           Defendant allowing Defendant’s collection, storage, and usage of his biometric information in

                                           the form of fingerprints.

                                                  33.        Finally, Plaintiff was never made aware of, and still cannot find, any publicly

                                           available retention schedule provided by Defendant for the retention and deletion of employees’

                                           biometric data.

                                                                            CLASS ACTION ALLEGATIONS

                                              Class Treatment Is Appropriate for Plaintiff’s BIPA Claims Arising From Collected,
                                                 Stored, Captured, Or Used Biometric Data By Defendant SP Plus Corporation

                                                  34.        Plaintiff brings this lawsuit pursuant to Rule 23(b)(2) and (3) of the Federal Rules

                                           of Civil Procedure on behalf of the following proposed class (the “Class”):

                                                  Stored Biometric Data Class: All persons who, while residing in Illinois and
                                                  employed by SP Plus Corporation, had their fingerprints collected, captured, stored,
                                                  or otherwise used by SP Plus Corporation.

                                                  35.        Subject to additional information gathered through further investigation and

                                           discovery, the foregoing definition of the Class may be expanded or narrowed by amendment or

                                           amended complaint.

                                                                                              8
                                              Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 10 of 30 PageID #:123




                                                   36.     The following individuals are excluded from the Class: (1) any Judge or

                                           Magistrate presiding over this action and members of their families; (2) Defendant, its
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                           subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parents

                                           have a controlling interest and their current or former employees, officers and directors; (3)

                                           Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

                                           from the Class; (5) the legal representatives, successors or assigns of any such excluded persons;

                                           and (6) persons whose claims against Defendant have been fully and finally adjudicated and/or

                                           released. Plaintiff anticipates the need to amend the Class definitions following appropriate

                                           discovery.

                                                   37.     Numerosity: The exact size of the Class is unknown and not available to Plaintiff

                                           at this time, but it is clear that individual joinder is impracticable due to the sheer size of

                                           Defendant’s corporation and number of employees that may have been subjected to the

                                           collection of their biometric data. On information and belief, Defendant collected employee’s

                                           biometric information in the form of fingerprints on its fingerprinting timeclock. Members of the

                                           Class can be identified through Defendant’s employment records, and additional Members can

                                           be identified through discovering the extent that Defendant uses biometric scanners and

                                           timeclocks at each of their several locations throughout Illinois.

                                                   38.     Commonality and Predominance: There are many questions of law and fact

                                           common to the claims of Plaintiff and the Class, and those questions predominate over any

                                           questions that may affect individual members of the Class. Common questions for the Class

                                           include, but are not necessarily limited to the following:

                                                           (a) whether Defendant collected, captured, received, or otherwise obtained
                                                               biometric identifiers or biometric information from Plaintiff and the Class;

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                                             Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 11 of 30 PageID #:124




                                                          (b) whether Defendant informed Plaintiff and the Class before collecting, using,
                                                              and storing their biometric identifiers or biometric information as required by
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                                              Section 15(b) of the BIPA;

                                                          (c) whether Defendant informed Plaintiff and the Class of the specific purpose
                                                              and the length for which a biometric identifier or biometric information is
                                                              being collected, stored, and used as required by Section 15(b) of the BIPA;

                                                          (d) whether Defendant obtained a written release, as defined by the BIPA, from
                                                              the Plaintiff and the Class to collect, store, and use their biometric identifiers
                                                              or biometric information;

                                                          (e) whether Defendant used biometric identifiers to identify Plaintiff and the
                                                              Class;

                                                          (f) whether Defendant provided a publicly available written policy establishing a
                                                              retention schedule and guidelines for permanently destroying biometric
                                                              identifiers and biometrics information, as required by Section 15(a) of the
                                                              BIPA;

                                                          (g) whether Defendant’s violations of BIPA were committed intentionally,
                                                              recklessly, or negligently;

                                                          (h) whether Plaintiff and the Class are entitled to statutory damages under the
                                                              BIPA and the correct measure for those damages; and

                                                          (i) whether Plaintiff and the Class are entitled to declaratory and injunctive relief.

                                                  39.     Typicality. Plaintiff’s claims are typical of the claims of the other members of the

                                           Class in that defendant collected, stored and used his biometric information without informed

                                           consent in the exact same manner as every other Class member.

                                                  40.     Adequate Representation: Plaintiff will fairly and adequately represent and

                                           protect the interests of the Class and has retained counsel competent and experienced in class

                                           actions. Plaintiff has no interests antagonistic to those of the Class, and Defendant has no

                                           defenses unique to Plaintiff. Plaintiff and his counsel are committed to vigorously prosecuting



                                                                                            10
                                             Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 12 of 30 PageID #:125




                                           this action on behalf of the members of the Class, and have the financial resources to do so.

                                           Neither Plaintiff nor his counsel has any interest adverse to the Class.
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                                  41.      Appropriateness: This class action is also appropriate for certification because

                                           Defendant has acted or refused to act on grounds generally applicable to the Class and as a

                                           whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

                                           of conduct toward the members of the Class and making final class-wide injunctive relief

                                           appropriate. Defendant’s business practices apply to and affect the members of the Class

                                           uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with

                                           respect to the Class as a whole, not on facts or law applicable only to Plaintiff. Additionally, the

                                           damages suffered by individual members of the Class will likely be small relative to the burden

                                           and expense of individual prosecution of the complex litigation necessitated by Defendant’s

                                           actions. Thus, it would be virtually impossible for the members of the Class to obtain effective

                                           relief from Defendant’s misconduct on an individual basis. A class action provides the benefits

                                           of single adjudication, economies of scale, and comprehensive supervision by a single court.

                                           Economies of time, effort, and expense will be fostered and uniformity of decisions will be

                                           ensured.

                                                                              FIRST CAUSE OF ACTION
                                                      Violations of Illinois Biometric Information Privacy Act, 40 ILCS 14/15(b)
                                                                          (On Behalf of Plaintiff and the Class)

                                                  42.      Plaintiff realleges and incorporates by reference the allegations contained in the

                                           aforementioned paragraphs of this Complaint and incorporates them by reference herein.

                                                  43.      Section 15(b) of BIPA states that a private entity may not, among other things,

                                                           collect, capture, purchase, receive through trade, or otherwise obtain a person’s or
                                                           a consumer’s biometric identifiers or biometric information, unless it first:

                                                                                            11
                                             Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 13 of 30 PageID #:126




                                                                  (1)     informs the subject… in writing that a biometric identifier or
                                                          biometric information is being collected or stored;
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                                                  (2)     informs the subject… in writing of the specific purpose and length
                                                          of term for which a biometric identifier or biometric information is being
                                                          collected, stored, and used; and
                                                                  (3)     receives a written release executed by the subject of the biometric
                                                          identifier or biometric information…

                                           740 ILCS 14/15(b).

                                                  44.     SP Plus Corporation is a private entity under BIPA. See 740 ILCS 14/10.

                                                  45.     Plaintiff and the Class members are individuals under BIPA. See id.

                                                  46.     SP Plus Corporation collected, captured, and obtained Plaintiff’s and the Class

                                           members’ biometric identifiers through its biometric fingerprinting timeclocks.

                                                  47.     Plaintiff’s and the Class members’ fingerprints collected, captured, and obtained

                                           by Defendant are by definition “biometric information” as per BIPA because Defendant used

                                           those biometric identifiers to identify Plaintiff and Class members for the purposes of clocking in

                                           and out as employees of Defendant. See id.

                                                  48.     Defendant collected, captured, obtained, used, and stored Plaintiff’s and the Class

                                           members’ biometric information and identifiers without first obtaining the written release

                                           required by Section 15(b) of BIPA.

                                                  49.     As alleged and shown above, Defendant did not inform Plaintiff or the Class

                                           members in writing that their biometric identifiers or information were being collected, stored,

                                           and used as required by Section 15(b) of BIPA.

                                                  50.     As alleged and shown above, Defendant did not inform Plaintiff or the Class

                                           members in writing of the specific purpose and length for which their fingerprints or other

                                           information was being collected, stored, and used, as required by Section 15(b) of BIPA.

                                                                                            12
                                             Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 14 of 30 PageID #:127




                                                  51.     Defendant is liable for violations under BIPA by collecting, capturing, obtaining,

                                           storing, and using Plaintiff’s and the Class members’ biometric identifiers and information as
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                           described herein, SP Plus Corporation violated Plaintiff’s and the Class members’ rights to

                                           privacy in their biometric identifiers or information as plainly stated within BIPA, 740 ILCS

                                           14/1 et seq.

                                                  52.     SP Plus Corporation’s violations of Section 15(b) of BIPA were intentional and

                                           reckless because SP Plus is headquartered, employs hundreds of employees within Illinois, and is

                                           actively counseled by attorneys familiar with Illinois law. BIPA has been law in Illinois since

                                           2008, so SP Plus has had ample opportunity to follow the law as required, and intentionally

                                           chose not to do so.

                                                  53.     Alternatively, SP Plus’s violations of Section 15(b) of BIPA were negligent

                                           because SP Plus failed to meet any applicable standard of care in ensuring that its members were

                                           informed and consented to the collection, storage, and use of their biometric information and

                                           biometric identifiers.

                                                  54.     As a result of defendant’s violations of §15(b) of the BIPA, plaintiff seeks the

                                           following relief individually and on behalf of the Class: (l) injunctive and equitable relief

                                           pursuant to 740 ILCS 14/20(4) requiring Defendant to comply with the BIPA’s requirements for

                                           the collection, storage, and use of biometric identifiers and biometric information as alleged

                                           herein; (2) statutory damages of $5,000 for each intentional or reckless violation of the BIPA

                                           pursuant to 740 ILCS 14/20(2), or alternatively, statutory damages of $1,000 per negligent

                                           violation of the BIPA pursuant to 740 ILCS 14/20(1); and (3) reasonable attorneys’ fees and

                                           costs expenses pursuant to 740 ILCS 14/20(3).


                                                                                            13
                                             Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 15 of 30 PageID #:128



                                                                           SECOND CAUSE OF ACTION
                                                            Violations of the Illinois Biometric Information Privacy Act
                                                                                   740 ILCS 14/15(a)
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                                                       (On Behalf of Plaintiff and the Class)

                                                  55.     Plaintiff realleges and incorporates by reference the allegations contained in the

                                           preceding paragraphs as though fully set forth herein.

                                                  56.     Section 15(a) of BIPA requires:

                                                  A private entity in possession of biometric identifiers or biometric information must
                                                  develop a written policy, made available to the public, establishing a retention
                                                  schedule and guidelines for permanently destroying biometric identifiers and
                                                  biometric information when the initial purpose for collecting or obtaining such
                                                  identifiers or information has been satisfied or within 3 years of the individual’s
                                                  last interaction with the private entity, whichever occurs first.

                                           740 ILCS 14/15(a).

                                                  57.     Defendant has failed to provide any sort of publicly available retention schedule

                                           or guidelines for permanently destroying its users’ biometric identifiers and biometric

                                           information as required by BIPA. Consequently, Defendant has violated Section 15(a) of BIPA.

                                           As previously stated, this cause of action results in Defendant’s violations of Section 15(a) of the

                                           BIPA to be seen as intentional or reckless, or in the alternative, negligent.

                                                 58.      As a result of Defendant’s repeated violations of Section 15(a) of BIPA, plaintiff

                                           seeks he following relief individually and on behalf of the Class: (l) injunctive and equitable

                                           relief pursuant to 740 ILCS 14/20(4) requiring SP Plus to comply with §15(a) of the BIPA’s

                                           requirement to establish and provide a publicly available retention schedule or guidelines for

                                           permanently destroying its users’ biometric identifiers and biometric information; (2) statutory

                                           damages of $5,000 for each intentional or reckless violation of §15(a) of the BIPA pursuant to

                                           740 ILCS 14/20(2), or alternatively, statutory damages of $1,000 per negligent violation of



                                                                                            14
                                             Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 16 of 30 PageID #:129




                                           §15(a) of the BIPA pursuant to 740 ILCS 14/20(1); and (3) reasonable attorneys’ fees and costs

                                           expenses pursuant to 740 ILCS 14/20(3).
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                                                                 PRAYER FOR RELIEF

                                                  WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the

                                           following relief:

                                              a) An order certifying the Class as defined above; appointing Plaintiff as the representative

                                                  of the Class; and appointing Woodrow & Peluso, LLC as Class Counsel;

                                              b) An award of statutory damages of $5,000 for each intentional or reckless violation of the

                                                  BIPA pursuant to 740 ILCS 14/20(2), or alternatively, statutory damages of $1,000 per

                                                  negligent violation of the BIPA pursuant to 740 ILCS 14/20(1) to be paid into a common

                                                  fund for the benefit of Plaintiff and the Class;

                                              c) An order declaring that Defendant’s actions, as set out above, violate BIPA, 740 ILCS

                                                  14/1, et seq;

                                              d) An order awarding injunctive and equitable relief pursuant to 740 ILCS 14/20(4)

                                                  requiring SP Plus Corporation to comply with the BIPA by providing a publicly available

                                                  retention schedule or guidelines for permanently destroying its users’ biometric

                                                  identifiers and biometric information and forcing Defendant to stop collecting, storing,

                                                  and using plaintiff’s and the Class members’ biometric identifiers and biometric

                                                  information without first obtaining their informed written consent;

                                              e) Awarding any further relief as the Court may deem just and proper.

                                                                                     JURY DEMAND

                                                  Plaintiff requests a jury trial.


                                                                                            15
                                             Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 17 of 30 PageID #:130
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                           Dated: April 3, 2020
                                                                                Respectfully submitted,


                                                                                MICHAEL MARZETTE,

                                                                                /s/ Marc E. McCallister
                                                                                One of his attorneys

                                                                                Marc E. McCallister
                                                                                mem@mccallisterlawgroup.com
                                                                                Gary D. McCallister
                                                                                gdm@mccallisterlawgroup.com
                                                                                McCallister Law Group
                                                                                200 North LaSalle Street, Suite 2150
                                                                                Chicago, IL 60601
                                                                                Attorney No.: 59509
                                                                                (312) 345-0611

                                                                                Steven L. Woodrow
                                                                                swoodrow@woodrowpeluso.com
                                                                                Woodrow & Peluso, LLC
                                                                                3900 E. Mexico Avenue, Suite 300
                                                                                Denver, Colorado 80210
                                                                                Tel: 720-213-0675
                                                                                Fax: 303-927-0809
                                                                                Attorneys for Plaintiff and the Class




                                                                                  16
                                            Case:date
                         Return Date: No return     1:20-cv-05119
                                                       scheduled  Document                          #: 1-3 Filed: 08/31/20 Page 18 of 30 PageID #:131
                         Hearing Date: 8/3/2020 9:30 AM - 9:30 AM
                         Courtroom Number: 2502
                         Location: District 1 Court                                                                                               FILED
                                 Cook County, IL                                                                                                  4/3/2020 1:36 PM
                                                                                                                                                  DOROTHY BROWN
                                                                                                                                                  CIRCUIT CLERK
                                                                                                                                                  COOK COUNTY, IL
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                                                                                                                                  2020CH03691

                                                                                                                                                  9016515
                                           Chancery Division Civil Cover Sheet
                                           General Chancery Section                                                                                ( 2/ / ) CCCH 0623

                                                                                IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                                   COUNTY DEPARTMENT, CHANCERY DIVISION



                                                                                                     Plaintiff              2020CH03691
                                                                           v.                                    Case No:

                                                                                                    Defendant

                                                                                    CHANCERY DIVISION CIVIL COVER SHEET
                                                                                        GENERAL CHANCERY SECTION




                                           Only one (1) case type may be checked with this cover sheet.
                                           0005                                                                  0017
                                           0001         Class Action                                             0018
                                           0002                                                                  0019       Partition
                                           0004                                                                  0020
                                                                                                                 0021
                                           0007         General Chancery                                         0022
                                           0010                                                                  0023
                                           0011         Arbitration                                              0024
                                           0012         Certiorari                                               0025
                                           0013                                                                  0026
                                           0014                                                                  0050
                                           0015
                                           0016                                                                                         ____________________________


                                              Atty. No.: ________________          Pro Se 99500
                                                                                                                 Pro Se Only:


                                           Atty. for:

                                           Address:

                                           City: ____________________________         State: ____

                                                  ________

                                                         ________________________


                                                                           Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
                                                                                             cookcountyclerkofcourt.org
                                                                                                          Page 1 of 1
                                         Case:date
                      Return Date: No return     1:20-cv-05119
                                                    scheduled  Document             #: 1-3 Filed: 08/31/20 Page 19 of 30 PageID #:132
                      Hearing Date: 8/3/2020 9:30 AM - 9:30 AM
                      Courtroom Number: 2502
                      Location: District 1 Court                                                                                      FILED
                              Cook County, IL                                                                                         4/3/2020 1:36 PM
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                                                                                                                                      COOK COUNTY, IL
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                                                                                                                      2020CH03691

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                                           2120 - Served                     2121 - Served
                                           2220 - Not Served                 2221 - Not Served
                                           2320 - Served By Mail             2321 - Served By Mail
                                           2420 - Served By Publication      2421 - Served By Publication
                                           Summons - Alias Summons                                                        (08/01/18) CCG 0001 A

                                                             IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS



                                                                            (Name all parties)
                                                                                                  Case No.
                                                                   v.                                        SP Plus Corporation
                                                                                                             c/o Illinois Corporate Service Company
                                           SP PLUS CORPORATION
                                                                                                             801 Adlai Stevenson Dr., Springfield, IL 62703
                                                                        ✔   SUMMONS              ALIAS SUMMONS
                                           To each Defendant:
                                           YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of
                                           which is hereto attached, or otherwise file your appearance and pay the required fee within thirty
                                           (30) days after service of this Summons, not counting the day of service. To file your answer or
                                           appearance you need access to the internet. Please visit www.cookcountyclerkofcourt.org to initiate
                                           this process. Kiosks with internet access are available at all Clerk’s Office locations. Please refer to
                                           the last page of this document for location information.
                                           If you fail to do so, a judgment by default may be entered against you for the relief
                                           requested in the complaint.
                                           To the Officer:
                                           This Summons must be returned by the officer or other person to whom it was given for service,
                                           with endorsement of service and fees, if any, immediately after service. If service cannot be made,
                                           this Summons shall be returned so endorsed. This Summons may not be served later than thirty (30)
                                           days after its date.




                                                         Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
                                                                           cookcountyclerkofcourt.org
                                                                                            Page 1 of 3
                                              Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 20 of 30 PageID #:133
                                           Summons - Alias Summons                                                               (08/01/18) CCG 0001 B
                                           E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first
                                           create an account with an e-filing service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm
                                           to learn more and to select a service provider. If you need additional help or have trouble e-filing, visit http://
                                           www.illinoiscourts.gov/FAQ/gethelp.asp, or talk with your local circuit clerk’s office.
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                           Atty. No.: ________________                                Witness:

                                           Atty Name:                                                        4/3/2020 1:36 PM DOROTHY BROWN

                                           Atty. for:                                                         DOROTHY BROWN, Clerk of Court
                                           Address: 
                                                                                                      Date of Service: ___________
                                           City: ____________________________                         (To be inserted by officer on copy left with
                                           State: ____     Zip: ________                              Defendant or other person):

                                           Telephone: ________________________
                                           Primary Email: 




                                                           Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
                                                                             cookcountyclerkofcourt.org
                                                                                                Page 2 of 3
                                             Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 21 of 30 PageID #:134


                                              CLERK OF THE CIRCUIT COURT OF COOK COUNTY OFFICE LOCATIONS

                                               Richard J Daley Center                             Domestic Relations Division
                                               50 W Washington                                    Richard J Daley Center
FILED DATE: 4/3/2020 1:36 PM 2020CH03691




                                               Chicago, IL 60602                                  50 W Washington, Rm 802
                                               District 2 - Skokie                                Chicago, IL 60602
                                               5600 Old Orchard Rd                                Hours: 8:30 am - 4:30 pm
                                               Skokie, IL 60077                                   Civil Appeals
                                               District 3 - Rolling Meadows                       Richard J Daley Center
                                               2121 Euclid                                        50 W Washington, Rm 801
                                               Rolling Meadows, IL 60008                          Chicago, IL 60602
                                                                                                  Hours: 8:30 am - 4:30 pm
                                               District 4 - Maywood
                                               1500 Maybrook Ave                                  Criminal Department
                                               Maywood, IL 60153                                  Richard J Daley Center
                                                                                                  50 W Washington, Rm 1006
                                               District 5 - Bridgeview                            Chicago, IL 60602
                                               10220 S 76th Ave                                   Hours: 8:30 am - 4:30 pm
                                               Bridgeview, IL 60455
                                                                                                  County Division
                                               District 6 - Markham                               Richard J Daley Center
                                               16501 S Kedzie Pkwy                                50 W Washington, Rm 1202
                                               Markham, IL 60428                                  Chicago, IL 60602
                                               Domestic Violence Court                            Hours: 8:30 am - 4:30 pm
                                               555 W Harrison                                     Probate Division
                                               Chicago, IL 60607                                  Richard J Daley Center
                                               Juvenile Center Building                           50 W Washington, Rm 1202
                                               2245 W Ogden Ave, Rm 13                            Chicago, IL 60602
                                               Chicago, IL 60602                                  Hours: 8:30 am - 4:30 pm
                                               Criminal Court Building                            Law Division
                                               2650 S California Ave, Rm 526                      Richard J Daley Center
                                               Chicago, IL 60608                                  50 W Washington, Rm 801
                                                                                                  Chicago, IL 60602
                                           Daley Center Divisions/Departments                     Hours: 8:30 am - 4:30 pm
                                               Civil Division                                     Traffic Division
                                               Richard J Daley Center                             Richard J Daley Center
                                               50 W Washington, Rm 601                            50 W Washington, Lower Level
                                               Chicago, IL 60602                                  Chicago, IL 60602
                                               Hours: 8:30 am - 4:30 pm                           Hours: 8:30 am - 4:30 pm
                                               Chancery Division
                                               Richard J Daley Center
                                               50 W Washington, Rm 802
                                               Chicago, IL 60602
                                               Hours: 8:30 am - 4:30 pm

                                                       Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
                                                                         cookcountyclerkofcourt.org
                                                                                    Page 3 of 3
                                       Case:date
                       Return Date: No return  1:20-cv-05119
                                                  scheduled   Document                #: 1-3 Filed: 08/31/20 Page 22 of 30 PageID #:135
                       Hearing Date: No hearing scheduled
                       Courtroom Number: No hearing scheduled
                       Location: No hearing scheduled                                                                                       FILED
                                                                                                                                            7/21/2020 12:25 PM
                                                                                                                                            DOROTHY BROWN
                                                                                                                                            CIRCUIT CLERK
                                                                                                                                            COOK COUNTY, IL
FILED DATE: 7/21/2020 12:25 PM 2020CH03691




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                                             2120 - Served                     2121 - Served
                                             2220 - Not Served                 2221 - Not Served
                                             2320 - Served By Mail             2321 - Served By Mail
                                             2420 - Served By Publication      2421 - Served By Publication
                                             Summons - Alias Summons                                                           (08/01/18) CCG 0001 A

                                                               IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

                                             Michael Marzette, Individually and on behalf of
                                             all other similarly situated,
                                                                            (Name all parties)                    2020 CH 03691
                                                                                                     Case No.
                                                                        v.
                                                                                                       SP Plus Corporation
                                             SP Plus Corporation, a Delaware Corporation               c/o Illinois Corporate Service Company
                                                                                                       801 Adlai Stevenson Dr., Springfield, IL 62703
                                                                             SUMMONS               ALIAS SUMMONS
                                             To each Defendant:
                                             YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of
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                                             days after its date.




                                                           Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
                                                                             cookcountyclerkofcourt.org
                                                                                              Page 1 of 3
                                                Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 23 of 30 PageID #:136
                                             Summons - Alias Summons                                                               (08/01/18) CCG 0001 B
                                             E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first
                                             create an account with an e-filing service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm
                                             to learn more and to select a service provider. If you need additional help or have trouble e-filing, visit http://
                                             www.illinoiscourts.gov/FAQ/gethelp.asp, or talk with your local circuit clerk’s office.
FILED DATE: 7/21/2020 12:25 PM 2020CH03691




                                                                                                        Witness:   7/21/2020 12:25 PM DOROTHY BROWN
                                             Atty. No.: 59509
                                             Atty Name: Marc E. McCallister
                                             Atty. for: Plaintiffs                                              DOROTHY BROWN, Clerk of Court
                                             Address: 200 N. LaSalle Street, Suite 2150
                                                                                                        Date of Service:
                                             City: Chicago                                              (To be inserted by officer on copy left with
                                             State: IL       Zip: 60601                                 Defendant or other person):

                                             Telephone: (312) 345-0611
                                             Primary Email: mem@mccallisterlawgroup.com




                                                            Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
                                                                              cookcountyclerkofcourt.org
                                                                                                  Page 2 of 3
                                               Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 24 of 30 PageID #:137


                                                CLERK OF THE CIRCUIT COURT OF COOK COUNTY OFFICE LOCATIONS

                                                 Richard J Daley Center                             Domestic Relations Division
                                                 50 W Washington                                    Richard J Daley Center
FILED DATE: 7/21/2020 12:25 PM 2020CH03691




                                                 Chicago, IL 60602                                  50 W Washington, Rm 802
                                                 District 2 - Skokie                                Chicago, IL 60602
                                                 5600 Old Orchard Rd                                Hours: 8:30 am - 4:30 pm
                                                 Skokie, IL 60077                                   Civil Appeals
                                                 District 3 - Rolling Meadows                       Richard J Daley Center
                                                 2121 Euclid                                        50 W Washington, Rm 801
                                                 Rolling Meadows, IL 60008                          Chicago, IL 60602
                                                                                                    Hours: 8:30 am - 4:30 pm
                                                 District 4 - Maywood
                                                 1500 Maybrook Ave                                  Criminal Department
                                                 Maywood, IL 60153                                  Richard J Daley Center
                                                                                                    50 W Washington, Rm 1006
                                                 District 5 - Bridgeview                            Chicago, IL 60602
                                                 10220 S 76th Ave                                   Hours: 8:30 am - 4:30 pm
                                                 Bridgeview, IL 60455
                                                                                                    County Division
                                                 District 6 - Markham                               Richard J Daley Center
                                                 16501 S Kedzie Pkwy                                50 W Washington, Rm 1202
                                                 Markham, IL 60428                                  Chicago, IL 60602
                                                 Domestic Violence Court                            Hours: 8:30 am - 4:30 pm
                                                 555 W Harrison                                     Probate Division
                                                 Chicago, IL 60607                                  Richard J Daley Center
                                                 Juvenile Center Building                           50 W Washington, Rm 1202
                                                 2245 W Ogden Ave, Rm 13                            Chicago, IL 60602
                                                 Chicago, IL 60602                                  Hours: 8:30 am - 4:30 pm
                                                 Criminal Court Building                            Law Division
                                                 2650 S California Ave, Rm 526                      Richard J Daley Center
                                                 Chicago, IL 60608                                  50 W Washington, Rm 801
                                                                                                    Chicago, IL 60602
                                             Daley Center Divisions/Departments                     Hours: 8:30 am - 4:30 pm
                                                 Civil Division                                     Traffic Division
                                                 Richard J Daley Center                             Richard J Daley Center
                                                 50 W Washington, Rm 601                            50 W Washington, Lower Level
                                                 Chicago, IL 60602                                  Chicago, IL 60602
                                                 Hours: 8:30 am - 4:30 pm                           Hours: 8:30 am - 4:30 pm
                                                   Chancery Division
                                                  Richard J Daley Center
                                                 50 W Washington, Rm 802
                                                 Chicago, IL 60602
                                                 Hours: 8:30 am - 4:30 pm

                                                         Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
                                                                           cookcountyclerkofcourt.org
                                                                                      Page 3 of 3
Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 25 of 30 PageID #:138
                              Case:date
           Return Date: No return     1:20-cv-05119
                                         scheduled  Document #: 1-3 Filed: 08/31/20 Page 26 of                                     30 PageID #:139
                                                         Hearing Date: No hearing scheduled
           Hearing Date: 8/3/2020 9:30 AM - 9:30 AM      Courtroom Number: No hearing scheduled
           Courtroom Number: 2502                        Location: No hearing scheduled
           Location: District 1 Court                                                                                                       FILED
                   Cook County, IL                                                                                                          7/21/2020 12:25 PM
                                                                                                                                            DOROTHY BROWN
                                                                                                            FILED                           CIRCUIT CLERK
                                                                                                            8/4/2020 11:32 AM               COOK COUNTY, IL
                                                                                                            DOROTHY BROWN
FILED DATE: 7/21/2020 12:25 PM 2020CH03691




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FILED DATE: 8/4/2020 11:32 AM 2020CH03691




                                                                                                            CIRCUIT CLERK
                                                                                                            COOK COUNTY, IL                 9833545
                                                                                                            2020CH03691
                                             2120 - Served                     2121 - Served
                                             2220 - Not Served                 2221 - Not Served      9987118
                                             2320 - Served By Mail             2321 - Served By Mail
                                             2420 - Served By Publication      2421 - Served By Publication
                                             Summons - Alias Summons                                                           (08/01/18) CCG 0001 A

                                                               IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

                                             Michael Marzette, Individually and on behalf of
                                             all other similarly situated,
                                                                            (Name all parties)                    2020 CH 03691
                                                                                                     Case No.
                                                                        v.
                                                                                                       SP Plus Corporation
                                             SP Plus Corporation, a Delaware Corporation               c/o Illinois Corporate Service Company
                                                                                                       801 Adlai Stevenson Dr., Springfield, IL 62703
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                                                           Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
                                                                             cookcountyclerkofcourt.org
                                                                                              Page 1 of 3
                                                Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 27 of 30 PageID #:140
                                             Summons - Alias Summons                                                               (08/01/18) CCG 0001 B
                                             E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first
                                             create an account with an e-filing service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm
                                             to learn more and to select a service provider. If you need additional help or have trouble e-filing, visit http://
                                             www.illinoiscourts.gov/FAQ/gethelp.asp, or talk with your local circuit clerk’s office.
                            AM 2020CH03691




                                                                                                        Witness:   7/21/2020 12:25 PM DOROTHY BROWN
                                             Atty. No.: 59509
                                             Atty Name: Marc E. McCallister
                      11:32 PM




                                             Atty. for: Plaintiffs
             8/4/2020 12:25




                                                                                                                DOROTHY BROWN, Clerk of Court
       DATE:7/21/2020




                                             Address: 200 N. LaSalle Street, Suite 2150
                                                                                                        Date of Service:
                                             City: Chicago                                              (To be inserted by officer on copy left with
 FILEDDATE:




                                             State: IL       Zip: 60601                                 Defendant or other person):
FILED




                                             Telephone: (312) 345-0611
                                             Primary Email: mem@mccallisterlawgroup.com




                                                            Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
                                                                              cookcountyclerkofcourt.org
                                                                                                  Page 2 of 3
                                               Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 28 of 30 PageID #:141


                                                CLERK OF THE CIRCUIT COURT OF COOK COUNTY OFFICE LOCATIONS

                                                 Richard J Daley Center                             Domestic Relations Division
                                                 50 W Washington                                    Richard J Daley Center
                            AM 2020CH03691




                                                 Chicago, IL 60602                                  50 W Washington, Rm 802
                                                 District 2 - Skokie                                Chicago, IL 60602
                                                 5600 Old Orchard Rd                                Hours: 8:30 am - 4:30 pm
                      11:32 PM




                                                 Skokie, IL 60077                                   Civil Appeals
             8/4/2020 12:25




                                                 District 3 - Rolling Meadows                       Richard J Daley Center
                                                 2121 Euclid                                        50 W Washington, Rm 801
       DATE:7/21/2020




                                                 Rolling Meadows, IL 60008                          Chicago, IL 60602
                                                                                                    Hours: 8:30 am - 4:30 pm
                                                 District 4 - Maywood
 FILEDDATE:




                                                 1500 Maybrook Ave                                  Criminal Department
                                                 Maywood, IL 60153                                  Richard J Daley Center
FILED




                                                                                                    50 W Washington, Rm 1006
                                                 District 5 - Bridgeview                            Chicago, IL 60602
                                                 10220 S 76th Ave                                   Hours: 8:30 am - 4:30 pm
                                                 Bridgeview, IL 60455
                                                                                                    County Division
                                                 District 6 - Markham                               Richard J Daley Center
                                                 16501 S Kedzie Pkwy                                50 W Washington, Rm 1202
                                                 Markham, IL 60428                                  Chicago, IL 60602
                                                 Domestic Violence Court                            Hours: 8:30 am - 4:30 pm
                                                 555 W Harrison                                     Probate Division
                                                 Chicago, IL 60607                                  Richard J Daley Center
                                                 Juvenile Center Building                           50 W Washington, Rm 1202
                                                 2245 W Ogden Ave, Rm 13                            Chicago, IL 60602
                                                 Chicago, IL 60602                                  Hours: 8:30 am - 4:30 pm
                                                 Criminal Court Building                            Law Division
                                                 2650 S California Ave, Rm 526                      Richard J Daley Center
                                                 Chicago, IL 60608                                  50 W Washington, Rm 801
                                                                                                    Chicago, IL 60602
                                             Daley Center Divisions/Departments                     Hours: 8:30 am - 4:30 pm
                                                 Civil Division                                     Traffic Division
                                                 Richard J Daley Center                             Richard J Daley Center
                                                 50 W Washington, Rm 601                            50 W Washington, Lower Level
                                                 Chicago, IL 60602                                  Chicago, IL 60602
                                                 Hours: 8:30 am - 4:30 pm                           Hours: 8:30 am - 4:30 pm
                                                   Chancery Division
                                                  Richard J Daley Center
                                                 50 W Washington, Rm 802
                                                 Chicago, IL 60602
                                                 Hours: 8:30 am - 4:30 pm

                                                         Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
                                                                           cookcountyclerkofcourt.org
                                                                                      Page 3 of 3
                                            Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 29 of 30 PageID #:142


                                                                                  SANGAM?COMYSfiERIFFSOFFICE
                                                                                           "KeepingtJiePeaceSince1821"
FILED DATE: 8/4/2020 11:32 AM 2020CH03691




                                                                                                MCKCAMPBBLL
                                            Administration- (217) 753-6855                      ^Sheriffs Plaza
                                            Records - (217) 753-6846                                                               Investigations- (217) 7
                                                                                            Springfield, IL 62701                    Corrections-(21 7
                                                                              <
                                                                                                                    SGTJRACKDS-G^20-^?
                                                   I,               Srw                                        certify that I served Hiissummons as
                                                  follows:


                                                 D         Personalserviceonanindftddual,byleavmga copyofthesummonsand
                                                           complaint wiffc the defendant personally

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                                                          sealed envelope, postagepaid, to themdivjEdixa!listed mthe"summons"
                                                          Corporation service, byleavinga copyofthe summons andcomplaintwithan
                                                          agent or officer of the corporation listed m the summons.
                                                          Other service, as descrjibed t>elow.

                                                                     Case ITuiBuber
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                                                                     Mame of defendant

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                                                                    Summons leffc with

                                                                         [I MV P } Race:
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                                                                    Date of Service                        2020 Tame (V.
                                                                   Date of Mailing

                                                                   Address at wlucii paper was served:
                                                                         ^\            '    -        °'nl

                                                                  Service, fees (Circle One) 50.00 or 100.00

                                                                                  Circle One: PAID     PAUPER            NO CHARGE


                                                        JacfcCa pbe , heriff/f Sangamon County Sheriffs Office
                                                        By .                  ^-1                    ,          Deputy* 2/973

                                                                   IN'PARTNERSEDDP -WITHTHE COMMUNITY
Case: 1:20-cv-05119 Document #: 1-3 Filed: 08/31/20 Page 30 of 30 PageID #:143
